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                                   J O RGE E .. N A VAR R ET E
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         CERTIFICATE OF THE CLERK OF THE SUPREME-COURT

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                                STATE OF CALIFORNIA


                                  DREW ERIC BREUDER

 I, JORGE£. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
 Califor~1ia, do -~:reby certify that DREW ERIC BREUDER, #198466, .was on the 3rd day
 ofDecem.ber 1998, duly admitted to practice as an attorney and counselor at law in all the
 courts ofthis state, and is now listed on the Roll ofAtlorneJ'S as a member ofthe bar ofthis
 state in good standing.




                                                   Witness my hand and the ~ea/ of the court
                                                   011 the 21st day ofJune, 2022.
